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Attorneys for The GEO Group, Inc.,
incorrectly sued as GEO Re-Entry Group, LLC

               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

                                            X
CITY OF NEWARK,                             :
                                            :
                      Plaintiff,            :     Case No. 2:25-cv-02225
                                            :
            - against -                     :
                                            :     NOTICE OF REMOVAL
    GEO RE-ENTRY GROUP, LLC;                :
                                            :
    ABC CORPS. (A FICTIOUS                  :
    COMPANY) 1-100,                         :
                                            :
                                            :
                      Defendants.           :
                                           :X


       Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, 1442 and 1446, Defendant The

GEO Group, Inc., incorrectly sued as GEO Re-Entry Group, LLC (“GEO” or

“Defendant”),1 hereby removes the above-captioned action from the Superior Court

of New Jersey, Law Division, Essex County, bearing Docket No. ESX-L-002510-


1
  The contract for the operation of the Delaney Hall Facility is between U.S.
Immigration and Customs Enforcement and The GEO Group, Inc. The GEO Group,
Inc. family of companies does not include any entity known as “GEO Re-Entry
Group, LLC.”


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25 to the United States District Court for the District of New Jersey. The action is

removable pursuant to 28 U.S.C. §§ 1331 and 1442(a)(1) in that it is a civil action

in which the alleged right to relief necessarily depends on the resolution of a

substantial question of federal law. This action is also removable pursuant to 28

U.S.C. § 1332(a) because there is complete diversity of citizenship between the

parties, and the amount in controversy exceeds the sum of $75,000, exclusive of

interest and costs. GEO respectfully submits the following grounds for removal:

I.    LOCAL CIVIL RULE 10.1(a) INFORMATION

      1.    Pursuant to Rule 10.1(a) of the Local Civil Rules, the addresses of the

named parties are as follows:

      2.    Upon information and belief, Plaintiff The City of Newark is a

municipality organized pursuant to Title 40 of the New Jersey Statutes, with

municipal offices located at 920 Broad Street, Newark, New Jersey. The City of

Newark is represented by Michael A. Armstrong & Associates, LLC, 79 Mainbridge

Lane, Willingboro, New Jersey, 08046.

      3.    Defendant GEO’s principal place of business is located at 4955

Technology Way, Boca Raton, Florida 33431. GEO is represented by Geoffrey

Brounell, Davis Wright Tremaine LLP, 1251 Avenue of the Americas, 21st Floor,

New York, NY 10020.




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II.   INTRODUCTION

      4.     GEO, by and through its undersigned attorneys hereby removes this

action from the State of New Jersey, Essex County Superior Court, Law Division,

bearing Docket No. ESX-L-002510-25, to the United States District Court of New

Jersey. Plaintiff, the City of Newark (“Plaintiff” or “Newark”), seeks orders, inter

alia, granting Newark entry to a federal immigration facility located at 451 Doremus

Avenue in Newark, New Jersey (the “Delaney Hall Facility” or “Facility”), and

ordering that no occupancy be permitted pending inspection and compliance with

local, State, and administrative codes.

      5.     GEO owns Delaney Hall Facility, which is located at 451 Doremus

Avenue in Newark, New Jersey and has a permitted use capacity of approximately

1,196 beds. At various times since its opening in 2000, the Delaney Hall Facility

has held federal, state, and county detainees. From 2011 through 2017, U.S.

Immigration and Customs Enforcement (“ICE”) previously contracted to house up

to 450 immigration detainees at the Delaney Hall Facility, including detainees from

Texas, Louisiana, and other locations throughout the United States.

      6.     In April 2024, GEO filed an action in this Court for declaratory and

injunctive relief against Governor Philip D. Murphy and Attorney General Matthew

J. Platkin concerning New Jersey Assembly Bill 5207 (“AB 5207”), L.2021, c. 199,

§§ 1-2, codified at N.J. Stat. Ann. §§ 30:4-8.15 to 8.16. AB-5207 purports to prohibit


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ICE from entering into contracts with private service contractors—like GEO—for

the detention of individuals by the federal government in the State of New Jersey.

Case 3:24-cv-04990-RK-TJB.

      7.    On April 25, 2024, the Honorable Robert Kirsch entered an order

preliminarily enjoining the State of New Jersey from enforcing N.J. Stat. Ann.

§ 30:4-8.16(b)(2) against a private detention facility—including any owned by

Plaintiff GEO—until a further Order of this Court. A true and correct copy of this

Court’s Order is attached as Exhibit A.

      8.    In February 2025, ICE announced the imminent reopening of the

Delaney Hall Facility and on February 27, 2025, GEO announced that it had been

awarded a 15-year, fixed-price contract by ICE to provide support services for the

establishment of a federal immigration processing center at the company-owned,

1,000-bed Delaney Hall Facility in Newark, New Jersey. A true and correct copy of

ICE’s February 26, 2025, press release is attached as Exhibit B, and a true and

correct copy of GEO’s February 27, 2025, press release is attached at Exhibit C.

      9.    Since the time of this announcement, federal, state and local New Jersey

elected officials have vowed to “fight like hell” and “fight to the death” against

federal immigration enforcement in New Jersey. ICE Detention Center In NJ Is

First To Open Under Trump's New Term, February 27, 2025, https://patch.com/new-

jersey/newarknj/ice-detention-center-nj-first-open-under-trumps-new-term.



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      10.   U.S. Rep. LaMonica McIver, who represents Newark and other 10th

District municipalities in the House of Representatives, decried the announcement

from ICE:

      The Delaney Hall contract is in direct opposition to the will of the
      people here in Newark,” she said. “I denounced the potential opening
      of this facility earlier this month alongside my colleagues from New
      Jersey because privately owned detention centers degrade public trust
      in our institutions—the lack of transparency often leads to poor
      conditions and longer sentences.

Id.

      11.   Similarly, Newark Mayor Ras Baraka, a Democrat running for

governor, has vowed to block federal immigration detention at Delaney Hall:

      Regardless of the process, an immigrant detention center is not
      welcomed here. ICE’s stated intention to round up ‘criminals’ is a thin
      veil that does not conceal their scheme to violate people’s rights,
      desecrate the Constitution, and disassemble our democracy.

Mayor Ras J. Statement on Ice Intention to Open Detention Center at Newark’s

Delaney Hall, February 27, 2025, https://www.newarknj.gov/news/mayor-ras-j-

statement-on-ice-intention-to-open-detention-center-at-newarks-delaney-hall.

(emphasis added).

      12.   On March 11, 2025, Mayor Baraka appeared outside Delaney Hall with

about 300 immigrants’ rights advocates and other opponents of the facility

demonstrating in its parking lot. Mayor Baraka vowed to “padlock the building if

necessary” to block operation:



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       Newark Mayor Ras J. Baraka said Tuesday that the private owner of an
       immigrant detention center lacks city planning board approval and a
       certificate of occupancy to open, and that his administration will file a
       lawsuit and padlock the building if necessary to block its opening
       without the necessary approvals.

Steve Strunsky, ‘We are all immigrants’: Newark rallies against massive new ICE

detention          center,         NJ.com,          March           11,            2025,

https://www.nj.com/essex/2025/03/newark-mayor-leads-detention-center-protest-

says-it-needs-local-approval.html.

       13.   At 9:22 a.m. on March 31, 2025, Mayor Baraka accompanied by

employees of the Newark Building, Fire, and Engineering departments demanded

access to the federally-contracted Delaney Hall Facility.          ICE Headquarters

instructed that the City of Newark Officials would not be permitted access and

needed to schedule an appointment to enter the facility. GEO advised the City of

Newark Officials of this instruction.

       14.   Removal is accordingly proper pursuant to 28 U.S.C.A. §§ 1331, 1332,

1441, 1442 and 1446. In support of this Notice of Removal, Defendant states the

following:

III.   NATURE OF THE CLAIMS

       15.   Plaintiff initiated a claim for a civil action in the State of New Jersey,

Essex County Superior Court, Law Division, by filing a Complaint in Support of

Order to Show Cause. A copy of the Complaint and all other pleadings, processes,



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and orders served upon GEO and available on the state court docket are attached as

Exhibit D.

      16.    Plaintiff’s Complaint describes the action as seeking an order, inter alia,

granting Newark entry to the Delaney Hall Facility, and ordering that no occupancy

be permitted at the federal facility pending inspection and compliance with local,

State, and administrative codes.

      17.    The Delaney Hall Facility is a secure federal immigration detention

facility. GEO has been contracted to provide secure residential care support at the

facility pursuant to a federal contract with ICE.

      18.    Consistent with the requirements of GEO’s contract for secure

residential services at the Delaney Hall Facility, ICE exercises exclusive control over

all access to secure portions of the facility.

      19.    All requests for access to secure portions of the Delaney Hall Facility

must obtain pre-clearance approvals by ICE, including all requests for access by

federal and state employees, as well as GEO employees. GEO is without authority

to grant access to the secure portions of the Delaney Hall Facility absent ICE

clearance and approval.

      20.    On March 31, 2025, Newark representatives at the Delaney Hall

Facility and requested access to the facility to conduct inspections.             GEO

communicated Newark’s demand to ICE. ICE Headquarters instructed that the City



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of Newark Officials would not be permitted access and needed to schedule an

appointment to enter the facility. GEO advised the City of Newark Officials of this

instruction.

      21.      This Notice of Removal is timely.        The 30-day removal period

prescribed by 28 U.S.C. § 1446(b) begins to run when defendant receives a copy of

the initial pleading setting forth the claim for relief from which it may first be

ascertained that the case is removable. 28 U.S.C. § 1446(b). GEO obtained a copy

of the Complaint on April 1, 2025. The receipt of the Complaint put GEO on notice

for the first time that Plaintiff’s claims in this action involve ICE’s denial of

Newark’s request for access to the Delaney Hall Facility. The removal of the action,

which is being filed within 30 days of GEO’s receipt of the Complaint, is therefore

timely under 28 U.S.C. § 1446(b).

IV.   JURISDICTION AND INTRADISTRICT ASSIGNMENT

      22.      Subject matter jurisdiction is based on 28 U.S.C. §§ 1331, 1332, 1441,

1442, and 1446, as set forth below under Sections V and VI.

      23.      Venue is proper in the United States District Court for New Jersey, as

the state court action, which is the subject of this removal petition, was filed in the

Superior Court of New Jersey, Law Division, Essex County, where it is now

pending.




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V.    GROUNDS FOR REMOVAL – FEDERAL QUESTION

      24.    This is a civil action over which this Court also has original jurisdiction

under 28 U.S.C. § 1331 and is removable to this Court by GEO pursuant to the

provisions of 28 U.S.C. § 1442(a)(1) in that it is a civil action in which Plaintiff’s

alleged right to relief necessarily depends on the resolution of a substantial question

of federal law. “Federal officers, and their agents, may remove cases based on acts

performed under the color of their federal office if they assert a colorable defense.”

Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1251 (9th Cir. 2006); see also

Magnin v. Teledyne Continental Motors, 91 F.3d 1424, 1429 (11th Cir. 1996);

Ruppel v. CBS Corp., 701 F.3d 1176, 1180-1181 (7th Cir. 2012).

      25.    Title 28 U.S.C. § 1442(a)(1) “grants independent jurisdictional grounds

over cases involving federal officers where a district court otherwise would not have

jurisdiction.” Bailey v. Monsanto Co., 176 F. Supp. 3d 853, 869 (E.D. Mo. 2016).

The words “or relating to” were added to the statute by Congress in 2011. This

addition was “intended to broaden the universe of acts that enable Federal officers

to remove to Federal court.” Id. (citation omitted).

      26.    The Supreme Court has mandated a generous interpretation of the

federal officer removal statute in favor of removal. Ruppel, 701 F.3d 1176 at 1180

(the federal officer removal status is not narrow or limited); Willingham v. Morgan,

395 U.S. 402, 406-407 (1969); see also Jefferson County, Alabama v. Acker, 527



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 U.S. 423, 431 (1999) (noting that the Supreme Court has “rejected a ‘narrow,

 grudging interpretation’ of the [federal officer removal] statute.”).

       27.    At all relevant times, GEO was a “person(s)” within the meaning of 28

 U.S.C. § 1442(a)(1). Ruppel, 701 F.3d at 1181 (finding that a corporate defendant

 was a “person”); see also Fung v. Abex Corp., 816 F.Supp. 569, 572 (N.D.Cal.

 1992).

       28.     Plaintiff’s claim against GEO is based solely on GEO’s performance

 of its federal contract with ICE to provide secure residential services at the Delaney

 Hall Facility. GEO was acting under direction of an officer of the United States

 within the meaning of 28 U.S.C. § 1442(a)(1) when it communicated with Newark

 on March 31, 2025 and conveyed Newark’s request for access to the Delaney Hall

 Facility.

       29.     Because ICE, not GEO, denied Newark access to the Delaney Hall

 Facility, GEO has colorable federal defenses to Plaintiff’s claims.

       30.    Because GEO’s interaction with Newark on March 31, 2025, was in

 accordance with Congressionally mandated detention standards, its federal

 contractual requirements, and under the explicit direction of an officer of the United

 States, GEO has colorable federal defenses to Plaintiff’s claims.

       31.    Removal pursuant to 28 U.S.C. § 1442(a)(1) is appropriate where the

 moving party can (a) demonstrate that it acted under the direction of a federal officer,



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 (b) raise a colorable federal defense to plaintiff’s claims, and (c) demonstrate a

 causal nexus between plaintiff’s claims and the acts it performed under color of

 federal office. See Mesa v. California, 489 U.S. 121, 124-25, 129-31, 134-35 (1989);

 Ruppel, 701 F.3d at 1180-1181.

       32.      “Requiring a private contractor seeking federal officer removal to show

 a ‘colorable’ claim of state law preemption violates the fundamental principle that

 ‘[t]he officer need not win his case before he can have it removed.’” Graves v. 3M

 Co., 17 F.4th 764, 773 (8th Cir. 2021) (quoting Willingham, 395 U.S. at 407, 89

 S.Ct. 1813).

       33.      “While the Court must require that the facts identified by the defendant

 support the federal defense, the Court is not called upon at this preliminary stage to

 pierce the pleadings or dissect the facts stated. Nor is the Court’s function at this

 stage to determine credibility, weigh the quantum of evidence or discredit the source

 of the defense.” Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770, 778 (E.D. Pa.

 2010). “It is the sufficiency of the facts stated — not the weight of the proof

 presented — that matters. For policy reasons, Congress has erected a road to federal

 court for litigants who can invoke a federal defense. It is not the Court’s role to

 impose judicially created tolls on those who seek to travel on it. Thus, the Court

 concludes that a defense is colorable for purposes of determining jurisdiction under

 Section 1442(a)(1) if the defendant asserting it identifies facts which, viewed in the



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 light most favorable to the defendant, would establish a complete defense at trial.”

 Id. at 782-83.

       34.      Should Plaintiff file a motion to remand this case, GEO respectfully

 requests an opportunity to respond more fully in writing, including the submission

 of further affidavits and authorities, but offers the following at this time:

       1.       The Delaney Hall Facility is a secure federal immigration detention

 facility. GEO has contracted with ICE to provide secure residential care support at

 the Delaney Hall Facility. See Tatum Affidavit ¶¶ 3-4.

       2.       Consistent with the requirements of GEO’s contract for secure

 residential services at the Delaney Hall Facility, ICE exercises exclusive control over

 all access to secure portions of the facility. See Tatum Aff. ¶ 4.

       3.       All requests for access to the secure portions of the NWIPC must obtain

 pre-clearance approvals by ICE, including all requests for access by federal and state

 employees, as well as GEO employees. See Scott. Aff. ¶ 10.

       4.       On March 31, 2025, Newark representatives requested entry to the

 Delaney Hall Facility to conduct inspections. GEO communicated Newark’s

 demand to ICE. ICE Headquarters instructed that the City of Newark Officials

 would not be permitted access and needed to schedule an appointment to enter the

 facility. GEO advised the City of Newark Officials of this instruction. See Tatum

 Aff. ¶¶ 5-9.



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       35.    GEO raises colorable federal defenses to this action under the doctrine

 of “derivative sovereign immunity,” under the “intergovernmental immunity

 doctrine,” and under principles of federal preemption.

       A.     Derivative Sovereign Immunity

       36.    “The United States may not be sued without its consent.” United States

 v. Mitchell, 463 U.S. 206, 212 (1983). It is therefore immune from suit unless a

 plaintiff can point to a statute that says otherwise. Campbell-Ewald Co. v. Gomez,

 136 S. Ct. 663, 672, 193 L. Ed. 2d 571 (2016); Mitchell, 463 U.S. at 212 (“[T]he

 existence of consent is a prerequisite for jurisdiction.”). Similarly, government

 contractors may not be sued for carrying out the sovereign’s will. Yearsley v. W.A.

 Ross Construction Company, 309 U.S. 18, 20 (1940); In re KBR, Inc., Burn Pit

 Litig., 744 F.3d 326, 341–43 (4th Cir. 2014) (private employees receive Yearsley

 immunity (a/k/a derivative sovereign immunity or “DSI”) when performing same

 functions as government employees); see generally Filarsky v. Delia, 566 U.S. 377

 (2012) (“[I]t should come as no surprise that the common law did not draw a

 distinction between public servants and private individuals engaged in public service

 in according protection to those carrying out government responsibilities.”). That is

 because the government has an “unquestioned need to delegate [its] functions,” and

 because “[i]mposing liability on private agents of the government would directly




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 impede the significant governmental interest in the completion of its work.” Butters

 v. Vance Int’l, Inc., 225 F.3d 462, 466 (4th Cir. 2000).

       37.    Thus, “a government contractor is not subject to suit if (1) the

 government authorized the contractor’s actions and (2) the government ‘validly

 conferred’ that authorization.” Cunningham v. Gen. Dynamics Info. Tech., Inc., 888

 F.3d at 646 (citing In re KBR, 744 F.3d at 342; Yearsley, 309 U.S. at 20-21). In

 Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 193 L. Ed. 2d 571 (2016), the U.S.

 Supreme Court affirmed the two prong Yearsley standard, and explained the standard

 as follows: “Where the Government’s ‘authority to carry out the project was validly

 conferred, that is, if what was done was within the constitutional power of Congress,’

 we explained, ‘there is no liability on the part of the contractor’ who simply

 performed as the Government directed.” Campbell-Ewald, 136 S. Ct. at 673 (quoting

 Yearsley, 309 U.S. at 20-21).

       38.    As a result, GEO is immune from any suit for carrying out the

 sovereign’s will and conveying Newark’s request for access to the Delaney Hall

 Facility to ICE. GEO is also immune from suit for ICE’s decision to deny Newark’s

 request for access to the Delaney Hall Facility and for communicating ICE’s

 instructions to Newark. Yearsley, 309 U.S. at 20; In re KBR, Inc., 744 F.3d at 341–

 43.




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       B.     Intergovernmental Immunity—Direct Regulation

       39.    The Supremacy Clause provides that the “Laws of the United States”

 made in pursuance of the Constitution “shall be the supreme Law of the Land.” U.S.

 CONST. art. VI, cl. 2. More than 200 years ago, in the foundational case of

 McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316 (1819), the Supreme Court

 recognized that this guarantee of federal supremacy would be meaningless if the

 federal government were not immune from regulation and taxation by the states.

 The Supreme Court held that the supremacy of the federal government within its

 legitimate sphere of action necessarily meant that the states had no power to interfere

 with a constitutionally valid federal activity. Id. at 427-30. In line with McCulloch’s

 prohibition on state laws that “retard, impede, burden, or in any manner control, the

 operations” of the federal government, 17 U.S. (4 Wheat.) at 436, a state law directly

 regulates the federal government—and is therefore unconstitutional—if it

 “involve[s] a direct, physical interference with federal activities . . . or some direct,

 immediate burden on the performance of the [federal] functions.” Railway Mail

 Ass’n v. Corsi, 326 U.S. 88, 96 (1945). In assessing whether a state law substantially

 burdens federal operations, there is no distinction between state regulation of federal

 employees and state regulation of private contractors carrying out federal operations.

 In Osborn v. Bank of the United States, 22 U.S. (9 Wheat.) 738 (1824), the Supreme

 Court declared that “the right of the State to control [a federal contractor’s]



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 operations, if those operations be necessary to its character, as a machine employed

 by the government, cannot be maintained.” Id. at 867 (Marshall, C.J.).

       40.    The Supreme Court has consistently relied on the Supremacy Clause to

 strike down state laws that dictate how the federal government carries out its federal

 functions. In Johnson v. Maryland, Maryland sought to require a federal postal

 employee to comply with a state licensing regime before he could perform his federal

 duties. 254 U.S. 51, 55, 41 S.Ct. 16, 65 L.Ed. 126 (1920). In holding the state law

 unconstitutional, the Court observed:

       [T]he immunity of the instruments of the United States from state
       control in the performance of their duties extends to a requirement that
       they desist from performance until they satisfy a state officer upon
       examination that they are competent for a necessary part of them and
       pay a fee for permission to go on.

 Id. at 57, 41 S.Ct. 16.

       41.    In Leslie Miller, Inc. v. Arkansas, the Supreme Court struck down an

 Arkansas law that prevented a contractor selected by the federal government from

 bidding, contracting, and commencing work on a military base “without having

 obtained a license under Arkansas law for such activity ....” 352 U.S. 187, 188, 77

 S.Ct. 257, 1 L.Ed.2d 231 (1956). The Court, in rejecting the state law, reasoned that

 “[s]ubjecting a federal contractor to the Arkansas contractor license requirements

 would give the State’s licensing board a virtual power of review” over the federal

 government’s determination of who was qualified to perform federal work. Id. at



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 190, 77 S.Ct. 257. Through the discriminatory application of the Newark municipal

 code, Newark likewise attempts to override ICE’s contract award decision and the

 selection of the Delaney Hall Facility.

       42.    Following this precedent, courts have held that intergovernmental

 immunity forbids a state from substantially interfering with federal activity carried

 out by a private contractor, even where the activity occurs on private land. Boeing

 Co. v. Movassaghi, 768 F.3d 832, 839 (9th Cir. 2014). Plaintiff’s attempt to enter

 the Delaney Hall Facility and inspect, investigate, and enforce local, State, and

 administrative requirements at the Delaney Hall Facility is unconstitutional because

 it attempts to directly regulate, control, and interfere with federal activities in

 violation of the Intergovernmental Immunity Doctrine. CoreCivic, Inc. v. Murphy,

 690 F. Supp. 3d 467 (2023).

       C.     Intergovernmental Immunity—Impermissible Discrimination

       43.    The United States Supreme Court recently confirmed that the doctrine

 of Intergovernmental Immunity prohibits state laws that either “regulat[e] the United

 States directly or discriminat[e] against the Federal Government or those with whom

 it deals.” United States v. Washington, 142 S.Ct. 1976, 1984 (2022) (emphasis in

 original) (quoting North Dakota v. United States, 495 U.S. 423, 435 (1990) (plurality

 opinion)). A state law impermissibly discriminates against the federal government

 or its contractors if it “single[s them] out” for less favorable “treatment,” Washington



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 v. United States, 460 U.S. 536, 546 (1983), or if it regulates them unfavorably on

 some basis related to their governmental “status,” North Dakota, 495 U.S. at 438

 (plurality opinion). Preventing discrimination against the federal government or

 those with whom it deals lies at the heart of the Constitution’s intergovernmental

 immunity doctrine. United States v. Washington, 142 S.Ct. at 1985.

       44.    It is beyond cavil, that Newark’s current attempts to block federal

 immigration operations at the Delaney Hall Facility represent a stark and

 unmistakable attempt to thwart federal operations through the less favorable

 treatment of ICE and its contractor GEO under local, State, and administrative

 requirements. This type of blatant discrimination is plainly unconstitutional. United

 States v. California, 921 F.3d 865, 883-84 (9th Cir. 2019) see also GEO Group, Inc.

 v. Newsom, 50 F.4th 745, 760 (9th Cir. 2022) (“[e]nforcement of the substance of

 [the regulation] against the contractors would have the same effect as direct

 enforcement against the Government.”). Plaintiff’s attempt to enter the Delaney

 Hall Facility ostensibly to investigate compliance with local, State, and

 administrative codes is unconstitutional and invalid because it impermissibly

 discriminates against the federal government and its contractors. United States v.

 Washington, 142 S.Ct. at 1982.




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       D.     Federal Preemption—Field

       45.    Federal immigration law provides that the Secretary of Homeland

 Security “shall arrange for appropriate places of detention for aliens detained

 pending removal or a decision on removal,” and “[w]hen United States Government

 facilities are unavailable or facilities adapted or suitably located for detention are

 unavailable for rental, the [Secretary] may expend . . . amounts necessary to acquire

 land and to acquire, build, remodel, repair, and operate facilities . . . necessary for

 detention.” 8 U.S.C. § 1231(g)(1). To effectively arrange for appropriate places of

 detention for removal aliens, Congress further granted the Secretary authority “to

 make contracts . . . as may be necessary and proper to carry out [his]

 responsibilities,” 6 U.S.C. § 112(b)(2), including contracts with private parties.

 Congress further authorized the Secretary, in his “reasonable discretion,” to carry

 out the immigration enforcement activities of the Department of Homeland Security

 “through any means,” including “through contracts, grants, or cooperative

 agreements with non-Federal parties.” 28 U.S.C. § 530C(a)(4). Similarly, Congress

 has also authorized the Secretary to “enter into contracts and other agreements, of

 any reasonable duration, for detention or incarceration space or facilities, including

 related services, on any reasonable basis.” 18 U.S.C. § 4013 note “Contracts for

 Space or Facilities” (emphasis added).




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       46.    Federal statutory directives and a comprehensive set of federal

 detention standards known as the Performance Based National Detention Standards

 (“PBNDS”) govern the operation of private detention facilities. The current PBNDS

 were implemented and incorporated into ICE contracts at the direction of Congress.

 The Joint Explanatory Statement and House Report 114-668, which accompany the

 Fiscal Year (FY) 2017 Department of Homeland Security (DHS) Appropriations Act

 (Pub. L. 115-31) evince this direction. The Joint Explanatory Statement says:

 “Within 45 days after the enactment of this Act, ICE shall report on its progress in

 implementing the 2011 Performance Based National Detention Standards, including

 the 2016 revisions…” 163 Cong. Rec. H3812 (2017). House Report 114-668 states:

 “Within 45 days after the date of enactment of this Act, ICE shall report on its

 progress in implementing the 2011 [PBNDS] and requirements related to [PREA],

 including a list of facilities that are not yet in compliance; a schedule for bringing

 facilities into compliance; and current year and estimated future year costs

 associated with compliance.” H.R. Rep. No. 114-668, at 35.

       47.    The comprehensive framework enacted by Congress regarding the

 detention of aliens for removal leads to the conclusion that the federal government

 has occupied the field. See Arizona v. United States, 567 U.S. 387, 401 (2012)

 (“Arizona II”); Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 420, n.11 (2003); see

 also Viet D. Dinh, Reassessing the Law of Preemption, 88 Geo. L.J. 2085, 2098-



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 2099, 2107 (2000). Where Congress occupies an entire field, as it has in the field of

 alien detention pending removal, even complementary state regulation is

 impermissible. Accordingly, Plaintiff’s attempts to enter the Delaney Hall Facility

 to conduct inspections are unconstitutional and invalid because they are preempted

 by Congress’ occupation of the entire field of alien detention pending removal. See

 Newsom, 50 F.4th at 761-763 (2022).

       E.     Federal Preemption—Obstacle

       48.    As early as Gibbons v. Ogden, 22 U.S. (9 Wheat.) 1 (1824), Chief

 Justice Marshall stated the governing principle—that “acts of the State Legislatures

 …[which] interfere with, or are contrary to the laws of Congress, made in pursuance

 of the constitution,” are invalid under the Supremacy Clause. Id. at 211 (emphasis

 added). More than 100 years later Justice Black, after reviewing the precedents,

 wrote in a similar vein that, while:

       [t]his Court, in considering the validity of state laws in the light of
       treaties or federal laws touching the same subject, has made use of the
       following expressions: conflicting; contrary to; occupying the field;
       repugnance; difference; irreconcilability; inconsistency; violation;
       curtailment; and interference In the final analysis, . . [o]ur primary
       function is to determine whether [a challenged state statute] stands as
       an obstacle to the accomplishment and execution of the full purposes
       and objectives of Congress.

 Hines v. Davidowitz, 312 U.S. 52, 67 (1941). Under the doctrine of conflict

 preemption, “state laws are preempted when they conflict with federal law.”

 California, 921 F.3d at 878 (quoting Arizona II, 567 U.S. at 399). This includes cases


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 where “compliance with both federal and state regulations is a physical

 impossibility,” and those instances where the challenged state law “stands as an

 obstacle to the accomplishment and execution of the full purposes and objectives of

 Congress.” Id. at 879 (quoting Arizona II, 567 U.S. at 399 (internal quotation marks

 omitted)); Murphy v. NCAA, 138 S. Ct. 1461, 1476 (2018).

       49.     Plaintiff’s assertion of authority to override ICE’s determination that

 the Delaney Hall Facility meets ICE’s requirements for contract award presents a

 direct conflict with the objectives of Congress. Allowing Newark to exercise a

 virtual power of review over ICE’s contracting decision through the discriminatory

 application of local, State, and administrative codes stands as an impermissible

 obstacle to the accomplishment and execution of the full purposes and objectives of

 Congress.

       50.     The existence of a single removable claim allows removal of the entire

 action. 28 U.S.C. § 1441(c). Lepucki v. Van Wormer, 765 F.2d 86, 89 (7th Cir. 1985);

 see also National Audubon Society v. Dept. of Water, 496 F.Supp. 499, 509 (E.D.

 Cal. 1980).

 VI.   GROUNDS FOR REMOVAL – DIVERSITY OF CITIZENSHIP

       51.     This Court also has original jurisdiction over this action based on 28

 U.S.C. § 1332(a)(2) and 1441 because it is a civil action between Plaintiff, a citizen

 of New Jersey, and GEO, a citizen of Florida, where it is incorporated and has its



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 principal place of business, and the matter in controversy is alleged to exceed the

 sum or value of $75,000, exclusive of interest and costs.

       A.     Complete Diversity of Citizenship

       52.    Pursuant to 28 U.S.C. §§ 1332 and 1441, a civil action is removable if

 there exists complete diversity between the parties and no defendant is a citizen of

 the state in which an action is brought. There is complete diversity of citizenship

 between Plaintiff and GEO in this action.

       53.    Plaintiff is a municipality located in New Jersey. (Compl. ¶ 2.)

       54.    GEO is a corporation incorporated in the state of Florida, with its

 principal place of business in Boca Raton, Florida. Therefore GEO is a citizen of

 Florida.

       B.     Amount in Controversy Exceeds $75,000

       55.    The amount in controversy in this action exceeds $75,000. Where, as

 here, “the plaintiff’s complaint does not state the amount in controversy, the

 defendant’s notice of removal may do so.” Dart Cherokee Basin Operating Co.,

 LLC v. Owens, 574 U.S. 81, 84 (2014). To establish the amount in controversy, a

 notice of removal “need not contain evidentiary submissions.” Id. Rather, “a

 defendant’s notice of removal need include only a plausible allegation that the

 amount in controversy exceeds the jurisdictional threshold.” Id. at 89.




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       56.    The Complaint seeks “injunctive relief to require the Defendant from

 ceasing the challenged conduct.” Compl. ¶¶ 32, 38, 44, 48 & Prayer. Without

 conceding the merits of Plaintiff’s claims, the value of the injunctive relief, whether

 evaluated from Plaintiff’s or Defendant’s perspective, would far exceed $75,000.

       57.    The Complaint also seeks attorneys’ fees.          See Compl., Prayer.

 Attorneys’ fees authorized by statute count toward the amount in controversy. See

 Suber v. Chrysler Corp., 104 F.3d 578, 585 (3d Cir. 1997) (“Although 28 U.S.C. §

 1332 excludes “interest and costs” from the amount in controversy, attorney’s fees

 are necessarily part of the amount in controversy if such fees are available to

 successful plaintiffs under the statutory cause of action.”); Galt G/S v. JSS

 Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (“where an underlying statute

 authorizes an award of attorneys’ fees … such fees may be included in the amount

 in controversy”). GEO anticipates the attorneys’ fees incurred in responding to the

 Complaint will also exceed $75,000.

       58.    In the aggregate, the value of the injunctive relief sought and attorney’s

 fees exceed $75,000.

       59.    Accordingly, this Court has subject matter jurisdiction over this action

 pursuant to 28 U.S.C. § 1332(a)(2).




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 VII. NOTICE OF REMOVAL IS TIMELY

       60.   This Notice is also timely under 28 U.S.C. § 1446(b)(1) because it is

 filed within 30 days of service of Plaintiff’s March 31, 2025 the Complaint, which

 has not yet been served.

       61.   Notice of this removal has been filed with the state court and provided

 to all adverse parties by the initial removing defendant pursuant to 28 U.S.C. §

 1446(d).

       62.   In accordance with the time requirements of Fed. R. Civ. P. 81(c),

 Defendant will answer or present other defenses or objections. Defendant does not

 waive and, to the contrary, expressly preserves, any and all rights and defenses it

 may assert by motion or otherwise with respect to the action and Complaint.

       WHEREFORE, Defendant The GEO Group, Inc., pursuant to the statutes and

 authorities identified above hereby removes this action.




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 Dated: April 1, 2025               DAVIS WRIGHT TREMAINE LLP

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                                 CERTIFICATION

       Pursuant to Local Civil Rule 11.2, the undersigned hereby certifies that the

 matters raised herein are not the subject of any other pending lawsuit, arbitration or

 administrative proceeding except the state court action which is being removed.

 Dated: April 1, 2025                   DAVIS WRIGHT TREMAINE LLP


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